4:18-cv-02229-JFA-TER   Date Filed 08/13/18   Entry Number 1   Page 1 of 9
4:18-cv-02229-JFA-TER   Date Filed 08/13/18   Entry Number 1   Page 2 of 9
4:18-cv-02229-JFA-TER   Date Filed 08/13/18   Entry Number 1   Page 3 of 9
4:18-cv-02229-JFA-TER   Date Filed 08/13/18   Entry Number 1   Page 4 of 9
4:18-cv-02229-JFA-TER   Date Filed 08/13/18   Entry Number 1   Page 5 of 9
4:18-cv-02229-JFA-TER   Date Filed 08/13/18   Entry Number 1   Page 6 of 9
4:18-cv-02229-JFA-TER   Date Filed 08/13/18   Entry Number 1   Page 7 of 9
4:18-cv-02229-JFA-TER   Date Filed 08/13/18   Entry Number 1   Page 8 of 9
4:18-cv-02229-JFA-TER   Date Filed 08/13/18   Entry Number 1   Page 9 of 9
